                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
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In re                                                 : Chapter 9
                                                      :
CITY OF DETROIT, MICHIGAN,                            : Case No. 13- 53846
                                                      :
                               Debtor.                : Hon. Steven W. Rhodes
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          STIPULATION BETWEEN THE CITY OF DETROIT AND
         SYNCORA GUARANTEE INC. REGARDING DOCUMENTS
        TO BE PRODUCED BY THE DETROIT FIRE DEPARTMENT

              Syncora Guarantee Inc. and the City stipulate and agree that the City

will not be required to perform a full search of all electronically stored information

of the Detroit Fire Department (“DFD”), but instead will produce the following

DFD documents for the period from January 1, 2013 through April 16, 2014:

   1.   Documents showing each of the classes of new recruits that started at the
        Fire Academy
   2.   Documents showing each of the classes of new recruits that started at the
        EMS Academy
   3.   Report showing all new hires by the Fire Department and EMS
   4.   Documents regarding the number of applications submitted by prospective
        employees (both Fire and EMS), including the number of applicants for
        each position
   5.   Documents showing the city and state of residence of job applicants
   6.   Documents showing the level of educational attainment of job applicants,
        by position


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 7.   Documents regarding the winter 2014 job fair held at Cobo Hall, in which
      the Fire Department participated
 8.   Documents relating to opportunities for promotion within the Fire
      Department
 9.   Report showing all separations (including retirement, voluntary and
      involuntary separations)
 10. Retirement requests by employees
 11. Notices of employee resignations
 12. Documents tracking grievances filed by employees
 13. Reports showing response times for both Fire and EMS, including changes
     in those response times
 14. Statistics on the number of calls responded to by Fire and EMS
 15. Reports/memoranda addressing equipment, fleet and manpower needs,
     including memoranda prepared in conjunction with consultants from
     Conway MacKenzie
 16. The “Timeline for Improvement of EMS”
 17. Documents relied on in creating the Timeline for Improvement of EMS




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Respectfully submitted,                   Dated: June 20, 2014


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